Case 1:20-cv-00056   Document 72-1   Filed 07/01/20   Page 1 of 22 PageID #: 624




                      Exhibit
                        1
Case 1:20-cv-00056   Document 72-1   Filed 07/01/20   Page 2 of 22 PageID #: 625
Case 1:20-cv-00056   Document 72-1   Filed 07/01/20   Page 3 of 22 PageID #: 626
Case 1:20-cv-00056   Document 72-1   Filed 07/01/20   Page 4 of 22 PageID #: 627
Case 1:20-cv-00056   Document 72-1   Filed 07/01/20   Page 5 of 22 PageID #: 628
Case 1:20-cv-00056   Document 72-1   Filed 07/01/20   Page 6 of 22 PageID #: 629




         Attachment
              A
        Case 1:20-cv-00056   Document 72-1   Filed 07/01/20   Page 7 of 22 PageID #: 630
  BECHE 531.01 *                  INMATE HISTORY                 *     04-02-2020
PAGE 001       *                    ADM-REL                      *     15:21:32

 REG NO..: 03540-063 NAME....: WISE, TIMOTHY S
 CATEGORY: ARS       FUNCTION: PRT         FORMAT:

FCL     ASSIGNMENT DESCRIPTION                    START DATE/TIME STOP DATE/TIME
MCD     A-DES      DESIGNATED, AT ASSIGNED FACIL 01-01-2020 1852 CURRENT
MCD     LOCAL HOSP ESC TRIP TO LOCAL HOSP W/RETN 01-01-2020 1432 01-01-2020 1852
MCD     A-DES      DESIGNATED, AT ASSIGNED FACIL 12-09-2019 1553 01-01-2020 1432
MCD     LOCAL HOSP ESC TRIP TO LOCAL HOSP W/RETN 12-09-2019 1100 12-09-2019 1553
MCD     A-DES      DESIGNATED, AT ASSIGNED FACIL 07-23-2019 1449 12-09-2019 1100
A01     RELEASE    RELEASED FROM IN-TRANSIT FACL 07-23-2019 1449 07-23-2019 1449
A01     A-ADMIT    ADMITTED TO AN IN-TRANSIT FACL 07-23-2019 0830 07-23-2019 1449
OKL     HLD REMOVE HOLDOVER REMOVED               07-23-2019 0730 07-23-2019 0730
OKL     A-BOP HLD HOLDOVER FOR INST TO INST TRF 07-09-2019 1730 07-23-2019 0730
A02     RELEASE    RELEASED FROM IN-TRANSIT FACL 07-09-2019 1830 07-09-2019 1830
A02     A-ADMIT    ADMITTED TO AN IN-TRANSIT FACL 07-09-2019 1330 07-09-2019 1830
ATL     HLD REMOVE HOLDOVER REMOVED               07-09-2019 1330 07-09-2019 1330
ATL     A-BOP HLD HOLDOVER FOR INST TO INST TRF 06-24-2019 1802 07-09-2019 1330
B03     RELEASE    RELEASED FROM IN-TRANSIT FACL 06-24-2019 1802 06-24-2019 1802
B03     A-ADMIT    ADMITTED TO AN IN-TRANSIT FACL 06-24-2019 1227 06-24-2019 1802
ATL     ADMIN REL ADMINISTRATIVE RELEASE          06-24-2019 1227 06-24-2019 1227
ATL     A-ADMIN    ADMINISTRATIVE ADMISSION       06-24-2019 1206 06-24-2019 1227
B03     RELEASE    RELEASED FROM IN-TRANSIT FACL 06-24-2019 1206 06-24-2019 1206
B03     A-ADMIT    ADMITTED TO AN IN-TRANSIT FACL 06-24-2019 0903 06-24-2019 1206
TDG     TRANSFER   TRANSFER                       06-24-2019 0803 06-24-2019 0803
TDG     A-DES      DESIGNATED, AT ASSIGNED FACIL 10-29-2018 0804 06-24-2019 0803
B03     RELEASE    RELEASED FROM IN-TRANSIT FACL 10-29-2018 0904 10-29-2018 0904
B03     A-ADMIT    ADMITTED TO AN IN-TRANSIT FACL 10-29-2018 0633 10-29-2018 0904
ATL     HLD REMOVE HOLDOVER REMOVED               10-29-2018 0633 10-29-2018 0633
ATL     A-BOP HLD HOLDOVER FOR INST TO INST TRF 10-19-2018 1250 10-29-2018 0633
A01     RELEASE    RELEASED FROM IN-TRANSIT FACL 10-19-2018 1250 10-19-2018 1250
A01     A-ADMIT    ADMITTED TO AN IN-TRANSIT FACL 10-19-2018 0842 10-19-2018 1250
OKL     HLD REMOVE HOLDOVER REMOVED               10-19-2018 0742 10-19-2018 0742
OKL     A-BOP HLD HOLDOVER FOR INST TO INST TRF 10-15-2018 1655 10-19-2018 0742
A01     RELEASE    RELEASED FROM IN-TRANSIT FACL 10-15-2018 1755 10-15-2018 1755
A01     A-ADMIT    ADMITTED TO AN IN-TRANSIT FACL 10-15-2018 0635 10-15-2018 1755
CUM     TRANSFER   TRANSFER                       10-15-2018 0635 10-15-2018 0635
CUM     A-DES      DESIGNATED, AT ASSIGNED FACIL 12-12-2016 1827 10-15-2018 0635
A01     RELEASE    RELEASED FROM IN-TRANSIT FACL 12-12-2016 1827 12-12-2016 1827
A01     A-ADMIT    ADMITTED TO AN IN-TRANSIT FACL 12-12-2016 0913 12-12-2016 1827
ATL     HLD REMOVE HOLDOVER REMOVED               12-12-2016 0913 12-12-2016 0913
ATL     A-BOP HLD HOLDOVER FOR INST TO INST TRF 11-29-2016 1651 12-12-2016 0913
B03     RELEASE    RELEASED FROM IN-TRANSIT FACL 11-29-2016 1651 11-29-2016 1651
B03     A-ADMIT    ADMITTED TO AN IN-TRANSIT FACL 11-29-2016 1455 11-29-2016 1651
ATL     ADMIN REL ADMINISTRATIVE RELEASE          11-29-2016 1455 11-29-2016 1455
ATL     A-ADMIN    ADMINISTRATIVE ADMISSION       11-29-2016 1441 11-29-2016 1455




G0002         MORE PAGES TO FOLLOW . . .
Case 1:20-cv-00056   Document 72-1   Filed 07/01/20   Page 8 of 22 PageID #: 631




         Attachment
              B
        Case 1:20-cv-00056   Document 72-1     Filed 07/01/20   Page 9 of 22 PageID #: 632
  BECHE 531.01 *                  INMATE HISTORY                   *     03-25-2020
PAGE 001       *                    COR COUNSL                     *     15:08:21

 REG NO..: 03540-063 NAME....: WISE, TIMOTHY S
 CATEGORY: CCC       FUNCTION: PRT         FORMAT:

FCL     ASSIGNMENT DESCRIPTION                       START DATE/TIME STOP DATE/TIME
MCD     UNIT B4    R. MALONE, EXT. 7535              01-01-2020 1852 CURRENT
MCD     UNIT B4    R. MALONE, EXT. 7535              12-09-2019 1553 01-01-2020 1432
MCD     UNIT B4    R. MALONE, EXT. 7535              07-23-2019 1628 12-09-2019 1100
MCD     UNIT A1    M. MERCADO, CCC EXT. 7504         07-23-2019 1449 07-23-2019 1628
OKL     HOM        HOLDOVER MALE                     07-09-2019 1730 07-23-2019 0730
TDG     BG1                    , EXT 4320            10-29-2018 0804 06-24-2019 0803
OKL     HOM        HOLDOVER MALE                     10-15-2018 1655 10-19-2018 0742
CUM     FCI A2             FTS 220-3041              10-02-2018 0924 10-15-2018 0635
CUM     FCI B2                 : 220-3056            12-12-2016 1827 10-02-2018 0924
EST     BB                                           01-08-2016 1014 11-29-2016 1036
EST     BB                                           10-27-2015 1000 01-08-2016 0746
EST     BB                                           05-27-2015 0830 10-27-2015 0600
OKL     HOM        HOLDOVER MALE                     05-14-2015 1300 05-20-2015 0730
LVN     CCC-B1              EXT 1469                 02-25-2015 1127 05-14-2015 0621
OKL     HOM        HOLDOVER MALE                     01-15-2015 1430 02-25-2015 0425
MEM     CCC TB                                       10-23-2014 1338 01-15-2015 1058
MEM     CCC TB                                       09-12-2014 1426 10-23-2014 1225
MEM     CCC TB                                       09-11-2014 1422 09-12-2014 1219
MEM     CCC TB                                       05-20-2014 0918 09-11-2014 1208
MEM     CCC TB                                       01-14-2014 1447 05-20-2014 0745
MEM     CCC TB                                       09-09-2013 0913 01-14-2014 1309
MEM     CCC TB                                       05-20-2013 1636 09-09-2013 0659
MEM     CCC TB                                       01-30-2013 1342 04-10-2013 0930
MEM     CCC TB                                       09-21-2012 1444 01-30-2013 1230
MEM     CCC TB                                       03-19-2012 0950 09-21-2012 1343
MEM     CCC TB                                       02-07-2012 1057 03-19-2012 0655
MEM     CCC TB                                       11-21-2011 1011 02-07-2012 0718
MEM     CCC TB                                       03-25-2011 1527 11-21-2011 0718
MEM     CCC TB                                       09-22-2010 0807 03-25-2011 1227
MEM     CCC SA                                       09-14-2010 1131 09-22-2010 0807
MEM     CCC TB                                       09-03-2010 1341 09-14-2010 1131
MEM     CCC SA                                       07-28-2010 1603 09-03-2010 1341
OKL     HOM        HOLDOVER MALE                     07-20-2010 1730 07-27-2010 0930
CLP     J-1                                          07-30-2009 1411 07-20-2010 0712
CLP     I-1                                          04-14-2009 0807 07-30-2009 1411
CLP     I-2                                          03-25-2009 2126 04-14-2009 0807
OKL     HOM        HOLDOVER MALE                     03-19-2009 1640 03-24-2009 0810
OKL     HOM        HOLDOVER MALE                     02-24-2009 1845 02-27-2009 1040
CLP     I-2                                          01-16-2009 0802 02-24-2009 1022
CLP     G-1                                          11-20-2008 1252 01-16-2009 0802
CLP     K-2                                          11-20-2008 1008 11-20-2008 1252




G0002         MORE PAGES TO FOLLOW . . .
Case 1:20-cv-00056   Document 72-1   Filed 07/01/20   Page 10 of 22 PageID #: 633




          Attachment
               C
    Case 1:20-cv-00056   Document 72-1    Filed 07/01/20   Page 11 of 22 PageID #: 634
  BECHE         *ADMINISTRATIVE REMEDY GENERALIZED RETRIEVAL *     03-19-2020
PAGE 001 OF                                                        15:31:58
     FUNCTION: L-P SCOPE: REG   EQ 03540-063     OUTPUT FORMAT: UNSAN
-------LIMITED TO SUBMISSIONS WHICH MATCH ALL LIMITATIONS KEYED BELOW----------
DT RCV: FROM __________ THRU __________ DT STS: FROM __________ THRU __________
DT STS: FROM ___ TO ___ DAYS BEFORE "OR" FROM ___ TO ___ DAYS AFTER DT RDU
DT TDU: FROM ___ TO ___ DAYS BEFORE "OR" FROM ___ TO ___ DAYS AFTER DT TRT
STS/REAS: ______ ______ ______ ______ ______ ______ ______ ______ ______ ______
SUBJECTS: ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____
EXTENDED: _ REMEDY LEVEL: _ _              RECEIPT: _ _ _ "OR" EXTENSION: _ _ _
RCV OFC : EQ ____        ____       ____       ____       ____        ____
TRACK: DEPT: __________ __________ __________ __________ __________ __________
      PERSON: ___        ___        ___        ___        ___         ___
        TYPE: ___        ___        ___        ___        ___         ___
EVNT FACL: EQ ____       ____       ____       ____       ____        ____
RCV FACL.: EQ ____       ____       ____       ____       ____        ____
RCV UN/LC: EQ __________ __________ __________ __________ __________ __________
RCV QTR..: EQ __________ __________ __________ __________ __________ __________
ORIG FACL: EQ ____       ____       ____       ____       ____        ____
ORG UN/LC: EQ __________ __________ __________ __________ __________ __________
ORIG QTR.: EQ __________ __________ __________ __________ __________ __________




G0002       MORE PAGES TO FOLLOW . . .
    Case 1:20-cv-00056      Document 72-1    Filed 07/01/20     Page 12 of 22 PageID #: 635
  BECHE           *ADMINISTRATIVE REMEDY GENERALIZED RETRIEVAL *          03-19-2020
PAGE 002 OF       *             UNSANITIZED FORMAT             *          15:31:58

REMEDY-ID        REG       NAME                      ORIG UNIT OR LOC/QTRS/FACL
               STATUS-DATE      STATUS   DATE-RCV    RCV-OFC RCV-FACL EVNT-FACL
               SUBJ1/SUBJ2 --------------------ABSTRACT--------------------------

214721-R1      03540-063    WISE, T                     UNIT 3     Z06-306UDS SHE
               07-12-2000        CLG     06-12-2000      WXR      SHE      SHE
               20DM/        DHO HEARING 05-18-00 CODE: 203 DEL. 5-24-00

218312-F1      03540-063    WISE, T                     UNIT 3        Z03-207UAD SHE
               08-02-2000        REJ     08-02-2000      SHE         SHE      SHE
               10ZM/        REQUESTS NOT TO BE TRANSFERRED

218312-F2      03540-063    WISE, T                     UNIT 3        Z03-207UAD SHE
               08-18-2000        CLD     08-04-2000      SHE         SHE      SHE
               10ZM/        REQUESTS NOT TO BE TRANSFERRED

341731-R1      03540-063    WISE, T                     6B            Z01-101UAD ATW
               07-19-2004        CLD     06-28-2004      WXR         ATW      ATW
               20DM/        DHO HEARING 06-09-2004 CODE 104

412259-F1      03540-063    WISE, T                      K            Z03-132L     LEE
               05-04-2006        REJ     05-04-2006       LEE        LEE       LEE
               34ZM/        MULTIPLE ISSUES WITH STAFF

415817-R1      03540-063    WISE, T                     K             Z03-132L     LEE
               07-21-2006        CLD     05-16-2006       MXR        LEE       LEE
               20DM/        DHO APPEAL/04-14-2006/CODE 201

414134-F1      03540-063    WISE, T                     K          Z03-135L     LEE
               05-31-2006        CLD     05-22-2006       LEE     LEE       LEE
               34CM/        CLAIMING STAFF ARE "DISCRIMINATING" AGAINST HIM.

414282-F1      03540-063    WISE, T                     K          Z03-135L     LEE
               05-26-2006        CLD     05-23-2006       LEE     LEE       LEE
               22ZM/        WANTS TO BE ABLE TO FLUSH TOILET IN SHU.

414282-R1      03540-063    WISE, T                     K          Z03-135L     LEE
               08-02-2006        CLD     06-19-2006       MXR     LEE       LEE
               22ZS/        WANTS TO BE ABLE TO FLUSH TOILET IN SHU.

414134-R1      03540-063    WISE, T                     K          Z03-135L     LEE
               07-28-2006        CLD     06-19-2006       MXR     LEE       LEE
               34CS/        CLAIMING STAFF ARE DISCRIMINATING AGAINST HIM.

480114-F1      03540-063    WISE, T                     F/B        Z03-006LAD BMP
               02-05-2008        CLD     01-24-2008      BMP      BMP      BMP
               26DM/        CLAIMS NOT RECEIVING MEDICATION FOR PAIN




G0002         MORE PAGES TO FOLLOW . . .
    Case 1:20-cv-00056      Document 72-1    Filed 07/01/20     Page 13 of 22 PageID #: 636
  BECHE           *ADMINISTRATIVE REMEDY GENERALIZED RETRIEVAL *          03-19-2020
PAGE 003 OF       *             UNSANITIZED FORMAT             *          15:31:58

REMEDY-ID        REG       NAME                      ORIG UNIT OR LOC/QTRS/FACL
               STATUS-DATE      STATUS   DATE-RCV    RCV-OFC RCV-FACL EVNT-FACL
               SUBJ1/SUBJ2 --------------------ABSTRACT--------------------------

480116-F1      03540-063    WISE, T                     F/B        Z03-006LAD BMP
               02-07-2008        CLG     01-24-2008      BMP      BMP      BMP
               26ZM/        CLAIMS HE NEEDS SURGERY TO CORRECT ISSUES FROM A

480118-F1      03540-063    WISE, T                     F/B         Z03-006LAD BMP
               02-08-2008        CLG     01-24-2008      BMP       BMP      BMP
               26ZM/        WANTS A TRANSFER TO A MEDICAL FACILITY

482525-F1      03540-063    WISE, T                     F/B        Z03-021LAD BMP
               03-10-2008        CLO     02-13-2008      BMP      BMP      BMP
               26HM/        HAS NOT RECEIVED COPIES OF MEDICAL RECORDS

482526-F1      03540-063    WISE, T                      F/B          Z03-021LAD BMP
               03-19-2008        CLO     02-13-2008       BMP        BMP      BMP
               26AM/        HASN'T RECEIVED SURGERY

480114-R1      03540-063    WISE, T                     F/B        Z03-006LAD BMP
               04-01-2008        CLD     02-21-2008      SCR      FOM      BMP
               26DM/        CLAIMS NOT RECEIVING MEDICATION FOR PAIN

486843-R1      03540-063    WISE, T                     UNIT C-1   Z05-010LDS FOM
               03-07-2008        REJ     03-07-2008      SCR      FOM      BMP
               25CS/34AS    STAFF ALLOW ASSAULT FOR NOT PARTIC IN RACIAL FIGHT

486601-F1      03540-063    WISE, T                     UNIT C-1   Z05-010LDS FOM
               04-07-2008        CLO     03-19-2008      FOM      FOM      FOM
               18AM/18ZM    COPY OF CURRENT VISITING LIST/FAMILY ADDED TO LIST

480116-R1      03540-063    WISE, T                     F/B        Z03-006LAD BMP
               03-28-2008        REJ     03-28-2008      SCR      FOM      BMP
               26ZM/        CLAIMS HE NEEDS SURGERY TO CORRECT ISSUES FROM A

482525-R1      03540-063    WISE, T                     F/B        Z03-021LAD BMP
               05-14-2008        CLD     03-28-2008      SCR      FOM      BMP
               26HM/        HAS NOT RECEIVED COPIES OF MEDICAL RECORDS

488769-R1      03540-063    WISE, T                     UNIT C-1   Z05-010LDS FOM
               03-28-2008        REJ     03-28-2008      SCR      FOM      FOM
               34AM/        7-26-07 ASSAULTED - STAF KNEW, DIDN'T STOP, WATCHED

480118-R1      03540-063    WISE, T                     F/B         Z03-006LAD BMP
               04-01-2008        REJ     04-01-2008      SCR       FOM      BMP
               26ZM/        WANTS A TRANSFER TO A MEDICAL FACILITY




G0002         MORE PAGES TO FOLLOW . . .
    Case 1:20-cv-00056      Document 72-1    Filed 07/01/20   Page 14 of 22 PageID #: 637
  BECHE           *ADMINISTRATIVE REMEDY GENERALIZED RETRIEVAL *        03-19-2020
PAGE 004 OF       *             UNSANITIZED FORMAT             *        15:31:58

REMEDY-ID        REG       NAME                      ORIG UNIT OR LOC/QTRS/FACL
               STATUS-DATE      STATUS   DATE-RCV    RCV-OFC RCV-FACL EVNT-FACL
               SUBJ1/SUBJ2 --------------------ABSTRACT--------------------------

488355-F1      03540-063    WISE, T                      UNIT C-1    Z05-010LDS FOM
               04-03-2008        REJ     04-03-2008       FOM       FOM      FOM
               26BM/        INADEQUATE MEDICAL CARE

488364-F1      03540-063    WISE, T                      UNIT C-1    Z05-010LDS FOM
               04-16-2008        CLO     04-03-2008       FOM       FOM      FOM
               26BM/        INADEQUATE MEDICAL CARE

488855-F1      03540-063    WISE, T                     UNIT C-1    Z05-010LDS FOM
               04-07-2008        REJ     04-07-2008      FOM      FOM       FOM
               26HM/        FORM TO REQUEST COPY OF MEDICAL RECORDS

482526-R1      03540-063    WISE, T                     F/B         Z03-021LAD BMP
               05-06-2008        CLD     04-07-2008      SCR       FOM      BMP
               26AM/        HASN'T RECEIVED SURGERY FOR BROKEN JAW

488355-R1      03540-063    WISE, T                     UNIT C-1   Z05-010LDS FOM
               04-21-2008        REJ     04-21-2008      SCR      FOM      FOM
               26BM/25DM    NO MED TRMNT - FXS, NOT REC PROP, DNY A/R ACCESS

488855-R1      03540-063    WISE, T                     UNIT C-1   Z05-010LDS FOM
               04-21-2008        REJ     04-21-2008      SCR      FOM      FOM
               26HM/        FORM TO RQST COPY OF MED RECORDS & NOTARY OF SIG

480114-A1      03540-063    WISE, T                     F/B        Z03-006LAD BMP
               07-09-2008        CLO     04-28-2008      BOP      FOM      BMP
               26DM/        CLAIMS NOT RECEIVING MEDICATION FOR PAIN

488364-R1      03540-063    WISE, T                     UNIT C-1   Z05-010LDS FOM
               06-02-2008        CLD     04-30-2008      SCR      FOM      FOM
               26BM/        ASSAULT RESULT IN FX - UNTIM / IMPROP TRMNT

492841-F1      03540-063    WISE, T                     UNIT C-1   Z05-012LDS FOM
               06-03-2008        CLO     05-08-2008      FOM      FOM       FOM
               16ZM/        CLAIMS HE IS NOT RECEIVNG CERTIFIED MAIL RETURN

480116-A1      03540-063    WISE, T                     F/B        Z03-006LAD BMP
               05-12-2008        REJ     05-08-2008      BOP      FOM      BMP
               26ZM/        CLAIMS HE NEEDS SURGERY TO CORRECT ISSUES FROM A

480118-R2      03540-063    WISE, T                     F/B         Z03-006LAD BMP
               06-03-2008        CLD     05-08-2008      SCR       FOM      BMP
               26ZM/        WANTS A TRANSFER TO A MEDICAL FACILITY




G0002         MORE PAGES TO FOLLOW . . .
    Case 1:20-cv-00056      Document 72-1    Filed 07/01/20   Page 15 of 22 PageID #: 638
  BECHE           *ADMINISTRATIVE REMEDY GENERALIZED RETRIEVAL *        03-19-2020
PAGE 005 OF       *             UNSANITIZED FORMAT             *        15:31:58

REMEDY-ID        REG       NAME                      ORIG UNIT OR LOC/QTRS/FACL
               STATUS-DATE      STATUS   DATE-RCV    RCV-OFC RCV-FACL EVNT-FACL
               SUBJ1/SUBJ2 --------------------ABSTRACT--------------------------

488355-A1      03540-063    WISE, T                     UNIT C-1   Z05-010LDS FOM
               05-14-2008        REJ     05-09-2008      BOP      FOM      FOM
               26BM/25DM    NO MED TRMNT - FXS, NOT REC PROP, DNY A/R ACCESS

493372-F1      03540-063    WISE, T                     UNIT C-1   Z05-012LDS FOM
               05-28-2008        CLO     05-13-2008      FOM      FOM      FOM
               34AM/        STATES WHILE HOUSED AT USP BEAUMONT HE WAS ATTACKED/

494424-F1      03540-063    WISE, T                     UNIT C-1   Z05-012LDS FOM
               06-10-2008        CLO     05-22-2008      FOM      FOM      FOM
               26AM/        CLAIMS HE IS NOT RECEIVING ADEQUATE MEDICAL CARE/

482526-A1      03540-063    WISE, T                     F/B         Z03-021LAD BMP
               06-27-2008        CLO     05-23-2008      BOP       FOM      BMP
               26AM/        HASN'T RECEIVED SURGERY FOR BROKEN JAW

494959-F1      03540-063    WISE, T                     UNIT C-1   Z05-012LDS FOM
               05-28-2008        CLO     05-27-2008      FOM      FOM      FOM
               34AM/        CLAIMS WHILE HOUSED AT USP BEAUMONT HE WAS ATTACKED/

494960-F1      03540-063    WISE, T                     UNIT C-1   Z05-012LDS FOM
               05-28-2008        CLO     05-27-2008      FOM      FOM      FOM
               34AM/        STATES WHILE HOUSED AT USP BEAUMONT HE WAS ATTACKED/

482525-A1      03540-063    WISE, T                     F/B        Z03-021LAD BMP
               09-23-2008        CLD     06-16-2008      BOP      FOM      BMP
               26HM/        HAS NOT RECEIVED COPIES OF MEDICAL RECORDS

497764-F1      03540-063    WISE, T                     UNIT C-1    Z05-010LDS FOM
               07-01-2008        CLO     06-18-2008      FOM      FOM       FOM
               26HM/        REQUESTING A COPY OF HIS MEDICAL RECORD

497767-F1      03540-063    WISE, T                     UNIT C-1   Z05-010LDS FOM
               06-20-2008        CLO     06-18-2008      FOM      FOM      FOM
               34AM/        CLAIMS STAFF ARE DISCUSSING HIS MEDICAL ISSUES

497769-F1      03540-063    WISE, T                     UNIT C-1   Z05-010LDS FOM
               06-18-2008        REJ     06-18-2008      FOM      FOM       FOM
               26AM/        CLAIMS HE IS NOT RECEVING ADEQUATE MEDICAL CARE

497770-F1      03540-063    WISE, T                     UNIT C-1   Z05-010LDS FOM
               06-18-2008        REJ     06-18-2008      FOM      FOM      FOM
               26AM/        CLAIMS HE IS NOT RECEVING ADEQUATE MEDICAL CARE/




G0002         MORE PAGES TO FOLLOW . . .
    Case 1:20-cv-00056      Document 72-1    Filed 07/01/20   Page 16 of 22 PageID #: 639
  BECHE           *ADMINISTRATIVE REMEDY GENERALIZED RETRIEVAL *        03-19-2020
PAGE 006 OF       *             UNSANITIZED FORMAT             *        15:31:58

REMEDY-ID        REG       NAME                      ORIG UNIT OR LOC/QTRS/FACL
               STATUS-DATE      STATUS   DATE-RCV    RCV-OFC RCV-FACL EVNT-FACL
               SUBJ1/SUBJ2 --------------------ABSTRACT--------------------------

497773-F1      03540-063    WISE, T                     UNIT C-1    Z05-010LDS FOM
               06-18-2008        REJ     06-18-2008      FOM       FOM      FOM
               26BM/        CLAIMS HE NEEDS SURGERY/CHRONIC PAIN

498613-F1      03540-063    WISE, T                     UNIT C-1   Z05-004LDS FOM
               06-26-2008        REJ     06-26-2008      FOM      FOM      FOM
               26AM/        CLAIMS HE IS NOT RECEIVING ADEQUATE MEDICAL CARE

488364-A1      03540-063    WISE, T                     UNIT C-1   Z05-010LDS FOM
               08-20-2008        CLO     06-27-2008      BOP      FOM      FOM
               26BM/        INADEQUATE MEDICAL CARE AND WITHHOLDING OF MED RECDS

480118-A1      03540-063    WISE, T                     F/B         Z03-006LAD BMP
               09-17-2008        CLD     06-30-2008      BOP       FOM      BMP
               26ZM/        WANTS A TRANSFER TO A MEDICAL FACILITY

494424-R1      03540-063    WISE, T                     UNIT C-1   Z05-012LDS FOM
               06-30-2008        REJ     06-30-2008      SCR      FOM      FOM
               26AM/        CLAIMS NOT REC ADEQUATE MED CARE - IN CHRONIC PAIN

488364-R2      03540-063    WISE, T                     UNIT C-1   Z05-010LDS FOM
               06-30-2008        REJ     06-30-2008      SCR      FOM      FOM
               26BM/        ASSAULT RESULT IN FX - UNTIM / IMPROP TRMNT

493372-R1      03540-063    WISE, T                     UNIT C-1   Z05-012LDS FOM
               07-21-2008        CLD     06-30-2008      SCR      FOM      FOM
               34AM/        WHILE AT BMP WAS ATTACKED/STAF KNEW OF UPCOMING ASSA

494959-R1      03540-063    WISE, T                     UNIT C-1   Z05-012LDS FOM
               07-21-2008        CLD     06-30-2008      SCR      FOM      FOM
               34AM/        WHILE BMP WAS ATTACKED/STAF KNEW - DIDN'T PROTECT

494960-R1      03540-063    WISE, T                     UNIT C-1   Z05-012LDS FOM
               07-21-2008        CLD     06-30-2008      SCR      FOM      FOM
               34AM/        WHILE AT BMP WAS ATTACKED/STAFF KNEW OF ASSAULT PLAN

502277-F1      03540-063    WISE, T                     UNIT C-1   Z05-010UDS FOM
               07-25-2008        REJ     07-25-2008      FOM      FOM       FOM
               26BM/26ZM    REQUESTS ADEQUATE MEDICAL CARE/MEDICAL TRANSFER

502278-F1      03540-063    WISE, T                     UNIT C-1   Z05-010UDS FOM
               07-25-2008        REJ     07-25-2008      FOM      FOM      FOM
               26AM/        REQUEST ACCESS TO ADEQUATE MEDICAL CARE & EVAL




G0002         MORE PAGES TO FOLLOW . . .
    Case 1:20-cv-00056      Document 72-1    Filed 07/01/20   Page 17 of 22 PageID #: 640
  BECHE           *ADMINISTRATIVE REMEDY GENERALIZED RETRIEVAL *        03-19-2020
PAGE 007 OF       *             UNSANITIZED FORMAT             *        15:31:58

REMEDY-ID        REG       NAME                      ORIG UNIT OR LOC/QTRS/FACL
               STATUS-DATE      STATUS   DATE-RCV    RCV-OFC RCV-FACL EVNT-FACL
               SUBJ1/SUBJ2 --------------------ABSTRACT--------------------------

502282-F1      03540-063    WISE, T                     UNIT C-1   Z05-010UDS FOM
               08-05-2008        CLO     07-25-2008      FOM      FOM      FOM
               26AM/26BM    RQSTS CHRONIC CARE AND ACCESS TO ADEQUATE CARE

502283-F1      03540-063    WISE, T                     UNIT C-1   Z05-010UDS FOM
               08-05-2008        CLD     07-25-2008      FOM      FOM      FOM
               33HM/34ZM    RQSTS ALL RESOLUTION/REMEDY ATTEMPTS ADDRESSED

480116-R2      03540-063    WISE, T                     F/B        Z03-006LAD BMP
               09-25-2008        CLD     07-28-2008      SCR      FOM      BMP
               26ZM/        SURG TO CORRECT ISSUES FROM PREV ASSAULT

497764-R1      03540-063    WISE, T                     UNIT C-1    Z05-010LDS FOM
               09-08-2008        CLD     07-28-2008      SCR      FOM       FOM
               26HM/        REQUESTING A COPY OF HIS MEDICAL RECORD

497767-R1      03540-063    WISE, T                     UNIT C-1   Z05-010LDS FOM
               07-28-2008        REJ     07-28-2008      SCR      FOM      FOM
               34AM/        STAFF DISCUSSING HIS MED ISSUES W/ OTHER I/M

494424-R2      03540-063    WISE, T                     UNIT C-1   Z05-012LDS FOM
               09-25-2008        CLD     07-28-2008      SCR      FOM      FOM
               26AM/        NOT RECEIVING ADEQUATE MED CARE/ IN CHRONIC PAIN

497773-R1      03540-063    WISE, T                     UNIT C-1   Z05-010LDS FOM
               07-28-2008        REJ     07-28-2008      SCR      FOM      FOM
               26BM/        REC'D JAW SURG, NO PT OR TRMNT FOR NECK, BACK & NOSE

497770-R1      03540-063    WISE, T                     UNIT C-1   Z05-010LDS FOM
               07-28-2008        REJ     07-28-2008      SCR      FOM      FOM
               26AM/        JUST REC JAW SURGERY, NEED TRMNT NECK & BACK INJURIE

497767-A1      03540-063    WISE, T                     UNIT C-1   Z05-010LDS FOM
               09-18-2008        REJ     09-12-2008      BOP      LEW      FOM
               34AM/        STAFF DISCUSSING HIS MED ISSUES W/ OTHER I/M

494959-A1      03540-063    WISE, T                     UNIT C-1   Z05-012LDS FOM
               09-18-2008        REJ     09-12-2008      BOP      LEW      FOM
               34AM/        WHILE BMP WAS ATTACKED/STAF KNEW - DIDN'T PROTECT

497770-A1      03540-063    WISE, T                     UNIT C-1   Z05-010LDS FOM
               09-18-2008        REJ     09-12-2008      BOP      LEW      FOM
               26AM/        JUST REC JAW SURGERY, NEED TRMNT NECK & BACK INJURIE




G0002         MORE PAGES TO FOLLOW . . .
    Case 1:20-cv-00056      Document 72-1    Filed 07/01/20   Page 18 of 22 PageID #: 641
  BECHE           *ADMINISTRATIVE REMEDY GENERALIZED RETRIEVAL *        03-19-2020
PAGE 008 OF       *             UNSANITIZED FORMAT             *        15:31:58

REMEDY-ID        REG       NAME                      ORIG UNIT OR LOC/QTRS/FACL
               STATUS-DATE      STATUS   DATE-RCV    RCV-OFC RCV-FACL EVNT-FACL
               SUBJ1/SUBJ2 --------------------ABSTRACT--------------------------

494960-A1      03540-063    WISE, T                     UNIT C-1   Z05-012LDS FOM
               09-18-2008        REJ     09-12-2008      BOP      LEW      FOM
               34AM/        WHILE AT BMP WAS ATTACKED/STAFF KNEW OF ASSAULT PLAN

493372-A1      03540-063    WISE, T                     UNIT C-1   Z05-012LDS FOM
               09-18-2008        REJ     09-12-2008      BOP      LEW      FOM
               34AM/        WHILE AT BMP WAS ATTACKED/STAF KNEW OF UPCOMING ASSA

497773-A1      03540-063    WISE, T                     UNIT C-1   Z05-010LDS FOM
               09-19-2008        REJ     09-15-2008      BOP      LEW      FOM
               26BM/        REC'D JAW SURG, NO PT OR TRMNT FOR NECK, BACK & NOSE

497764-A1      03540-063    WISE, T                     UNIT C-1    Z05-010LDS FOM
               11-03-2008        CLO     09-24-2008      BOP      LEW       FOM
               26HM/        REQUESTING A COPY OF HIS MEDICAL RECORD

494960-A2      03540-063    WISE, T                     UNIT C-1   Z05-012LDS FOM
               01-13-2009        CLO     10-14-2008      BOP      LEW      FOM
               34AM/        WHILE AT BMP WAS ATTACKED/STAFF KNEW OF ASSAULT PLAN

494959-A2      03540-063    WISE, T                     UNIT C-1   Z05-012LDS FOM
               01-13-2009        CLO     10-14-2008      BOP      LEW      FOM
               34AM/        WHILE BMP WAS ATTACKED/STAF KNEW - DIDN'T PROTECT

493372-A2      03540-063    WISE, T                     UNIT C-1   Z05-012LDS FOM
               01-13-2009        CLO     10-14-2008      BOP      LEW      FOM
               34AM/        WHILE AT BMP WAS ATTACKED/STAF KNEW OF UPCOMING ASSA

497767-A2      03540-063    WISE, T                     UNIT C-1   Z05-010LDS FOM
               10-21-2008        REJ     10-14-2008      BOP      LEW      FOM
               34AM/        STAFF DISCUSSING HIS MED ISSUES W/ OTHER I/M

480116-A2      03540-063    WISE, T                     F/B        Z03-006LAD BMP
               11-05-2008        REJ     10-29-2008      BOP      ATL      BMP
               26ZM/        CLAIMS HE NEEDS SURGERY TO CORRECT ISSUES FROM A

494424-A1      03540-063    WISE, T                     UNIT C-1   Z05-012LDS FOM
               11-05-2008        REJ     10-29-2008      BOP      ATL      FOM
               26AM/        NOT RECEIVING ADEQUATE MED CARE/ IN CHRONIC PAIN

521106-R1      03540-063    WISE, T                     G-1         Z07-101LAD CLP
               01-05-2009        REJ     01-02-2009      SER       CLP      CLP
               20DS/        DHO HEARING DATE 11-18-08, CODE 218




G0002         MORE PAGES TO FOLLOW . . .
    Case 1:20-cv-00056      Document 72-1    Filed 07/01/20   Page 19 of 22 PageID #: 642
  BECHE           *ADMINISTRATIVE REMEDY GENERALIZED RETRIEVAL *        03-19-2020
PAGE 009 OF       *             UNSANITIZED FORMAT             *        15:31:58

REMEDY-ID        REG       NAME                      ORIG UNIT OR LOC/QTRS/FACL
               STATUS-DATE      STATUS   DATE-RCV    RCV-OFC RCV-FACL EVNT-FACL
               SUBJ1/SUBJ2 --------------------ABSTRACT--------------------------

521106-R2      03540-063    WISE, T                     G-1         Z07-101LAD CLP
               02-19-2009        CLD     01-16-2009      SER       CLP      CLP
               20DS/        DHO HEARING DATE 11-18-08, CODE 218

521106-A1      03540-063    WISE, T                     G-1         Z07-101LAD CLP
               08-06-2009        CLD     05-11-2009      BOP       CLP      CLP
               20DS/        DHO APPEAL/CODE 218/HEARING 11-18-2008

542336-F1      03540-063    WISE, T                     I-1        Z03-108LAD CLP
               07-06-2009        CLO     06-10-2009      CLP      CLP      CLP
               27CS/        NEEDS TO SEE DENTIST ASAP FOR BROKEN TOOTH.

542338-F1      03540-063    WISE, T                     I-1        Z03-108LAD CLP
               07-16-2009        CLO     06-10-2009      CLP      CLP      CLP
               26AS/        ALLEGES HE WAS DEINED TREATMENT FOR BACK PAIN.

616876-F1      03540-063    WISE, T                      TENNESSEE T03-311U     MEM
               12-28-2010        CLD     11-30-2010       MEM      MEM      MEM
               26BM/        MED CARE-IMPROPER/INADEQUATE

616876-R1      03540-063    WISE, T                      TENNESSEE T03-311U     MEM
               03-31-2011        CLD     01-20-2011       MXR      MEM      MEM
               26BM/        MED CARE-IMPROPER/INADEQUATE

616876-A1      03540-063    WISE, T                      TENNESSEE T03-311U     MEM
               04-21-2011        REJ     04-14-2011       BOP      MEM      MEM
               26BM/        MED CARE-IMPROPER/INADEQUATE

616876-A2      03540-063    WISE, T                      TENNESSEE T03-311U     MEM
               05-19-2011        REJ     05-09-2011       BOP      MEM      MEM
               26BM/        MED CARE-IMPROPER/INADEQUATE

968843-R1      03540-063    WISE, T                      UNIT B     Z01-106UDS TDG
               03-19-2019        CLD     02-05-2019       SER      TDG      TDG
               20DM/        DHO APPEAL

980859-R1      03540-063    WISE, T                     UNIT B      Z01-106LDS TDG
               06-18-2019        CLD     06-12-2019      SER       TDG      TDG
               20DM/        DHO HEARING DATE 05-20-19, CODE 113

968843-A1      03540-063    WISE, T                      UNIT B     Z01-106UDS TDG
               07-29-2019        REJ     07-02-2019       BOP      ATL      TDG
               20DM/        DHO APPEAL




G0002         MORE PAGES TO FOLLOW . . .
    Case 1:20-cv-00056    Document 72-1    Filed 07/01/20   Page 20 of 22 PageID #: 643
  BECHE         *ADMINISTRATIVE REMEDY GENERALIZED RETRIEVAL *        03-19-2020
PAGE 010 OF 010 *             UNSANITIZED FORMAT             *        15:31:58

REMEDY-ID      REG       NAME                      ORIG UNIT OR LOC/QTRS/FACL
             STATUS-DATE      STATUS   DATE-RCV    RCV-OFC RCV-FACL EVNT-FACL
             SUBJ1/SUBJ2 --------------------ABSTRACT--------------------------

980859-A1    03540-063    WISE, T                     UNIT B      Z01-106LDS TDG
             09-30-2019        CLD     08-08-2019      BOP       MCD      TDG
             20DM/        DHO HEARING DATE 05-20-19, CODE 113




                89 REMEDY SUBMISSION(S) SELECTED
G0000       TRANSACTION SUCCESSFULLY COMPLETED
Case 1:20-cv-00056   Document 72-1   Filed 07/01/20   Page 21 of 22 PageID #: 644




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Case 1:20-cv-00056   Document 72-1   Filed 07/01/20   Page 22 of 22 PageID #: 645
